                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                   CRIMINAL ACTION NO. 5:99-CR-00012-KDB-6

 UNITED STATES OF AMERICA,


    v.                                                         ORDER

 FLOYD JUNIOR POWELL,

               Defendant.


   THIS MATTER is before the Court on the various pending motions by Defendant Floyd

Junior Powell. Powell was released from BOP custody on January 9, 2017, and the United States

Probation Office has confirmed that Powell’s three-year term of supervised release expired on

January 8, 2020. Thus, all pending motions in this matter are now moot.

   IT IS THEREFORE ORDERED that the following motions be DENIED AS MOOT:

           (1) “Motion Under Rule 20 and Rule 15 and Rule 44 to Repull Jury or Recall Based

              on Bias of Racist Jury” (Doc. No. 455);

           (2) “Motion for Certificate of Appealability” (Doc. No. 539);

           (3) “Motion for Writ of Coram Nobis on Constitutional Rights and Equal Protection

              Rights Pursuant to Wrongfully Convictions by All White Jury and Prosecutors

              Misconduct” (Doc. No. 547);

           (4) “Motion for Disposition under Rule 4(d) for Summary Judgment” (Doc. No. 587);

           (5) “Motion for Disposition under Rule 4(d) for Pending Motion under 28 U.S.C. §

              451” (Doc. No. 593);

           (6) “Pro Se Motion by Verified Statement of Sworn Plaintiff” (Doc. No. 613);




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 (7) "Motion to Strike” (Doc. No. 614); and

 (8) "Motion to Strike and Dismiss” (Doc. No. 621).


                         Signed: November 9, 2020




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